19 F.3d 1429
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank M. GASTER, Plaintiff Appellant,v.William W. CATOE, Deputy Commissioner, South CarolinaDepartment of Corrections, and Members of theSouth Carolina Board of Corrections,Defendants-Appellees.
    No. 93-7225.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 20, 1994.Decided:  Feb. 25, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Henry M. Herlong, Jr., District Judge.  (CA-93-19-3-20AJ)
      Frank M. Gaster, Appellant Pro Se.
      Larry Cleveland Batson, Robert Eric Petersen, Barbara Murcier Bowens, South Carolina Department of Corrections, Columbia, SC, for Appellees.
      D.S.C.
      AFFIRMED.
      Before WIDENER, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Gaster v. Catoe, No. CA-93-19-3-20AJ (D.S.C. Oct. 26, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    